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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 Shanice Mathews, ∗ as guardian ad litem           )
 and on behalf of her son, D.W.,                   )
                                                   )
                          Plaintiff,               )
                                                   )     Case No. 18-CV-6675
                  v.                               )
                                                   )     Honorable Joan B. Gottschall
                                                   )
 The State of Illinois, et al.,                    )
                                                   )
                          Defendants.              )

                         MEMORANDUM OPINION AND ORDER
        In her fourth amended complaint, Shanice Mathews seeks injunctive relief against the

State of Illinois, its governor, the Illinois Department of State Police (“ISP”), and ISP’s director

on behalf of her teenaged son, D.W., and a proposed class of persons who live in Chicago’s

communities of concentrated gun violence. Her claims arise under Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. § 794, and the Illinois Civil Rights Act of 2003, 740 Ill.

Comp. Stat. 23/5(a)(2) (West 2008). Prior opinions recite the factual and procedural background

in detail. 1 The third and fourth amended complaints do not vary materially, differing chiefly in

the scope and form of injunctive relief Mathews seeks.

        After extensive briefing and oral argument, Mathews has clarified that she seeks an

injunction ordering that:
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           In briefing filed earlier in this case, plaintiff’s name was sometimes spelled with two t’s. See
Mathews v. Illinois, No. 18-CV-6675, Order at 2 n.1 (N.D. Ill. June 10, 2022) (ECF No. 148). The
plaintiff consistently spells her name with one t in her fourth amended complaint and the instant round of
briefing. E.g., ECF No. 178 at 1; ECF No. 192 at 1.
         1. For background, see Powell ex rel. D.P. v. Illinois, 2019 WL 4750265, at *1-5 (N.D. Ill.
Sept. 30, 2019), motion to certify appeal denied, 2019 WL 10349404 (N.D. Ill. Nov. 5, 2019),
reconsideration denied, 2019 WL 10349403 (N.D. Ill. Dec. 18, 2019), appeal dismissed, No. 19-3144,
2021 WL 4955489 (7th Cir. Aug. 6, 2021); Mathews ex rel. D.W. v. Illinois, 690 F. Supp. 3d 808, 810-19
(N.D. Ill. 2023). The original complaint named three plaintiffs, including Mathews. The caption of the
opinion dismissing the original complaint in part bore the name of the first-named plaintiff, Demetria
Powell. Powell and a co-plaintiff later moved out of Chicago and were dismissed for lack of standing,
leaving Mathews as the sole plaintiff. See Powell, 2019 WL 4750265, at *7-8.
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            Defendant ISP exercise its authority under subparagraphs (1) and (2) of the
            Dealer License Certification Act 430 ILCS 68/5-85 (“Disciplinary
            sanctions”) and 430 ILCS 68/5-30 (“Training of Certified licensees”) and
            the general rulemaking and enforcement authority of ISP under
            20 ILCS 2605-15, to require that licensed gun dealers in counties adjacent
            to or near Chicago keep and produce electronic records showing that the
            dealers use the Brady checklist or a similar checklist authorized by the ISP
            consistent with the “Don’t Lie for the Other Guy” video that such dealers
            are required to view as part of their training under 430 ILCS 68/5-30. Such
            counties shall include Cook, Will, DuPage, Lake, and Kane Counties. The
            ISP shall notify dealers in writing that failure to provide such records at the
            time of relicensing for inspection by ISP will subject the dealers to the
            disciplinary sanctions set out under 430 ILCS 68-5/85, including the denial
            of the relicensing of such dealer.

            Defendant ISP, within 30 days of the entry of such order, will submit to the
            Court a timeline for administrative actions to implement such relief.
Pl. Suppl. Mem. 3-4 (Mar. 19, 2025), ECF No. 209. The proposed regulations will, according to

Mathews, decrease straw purchasing 2 from certain firearm dealers near Chicago, and that will in

turn reduce the flow of “crime guns” into Chicago and, by extension, the proposed class’s

exposure to, and continued traumatization by, shootings in Chicago’s communities of

concentrated gun violence. E.g., id. at 4.

        Defendants have filed a motion to dismiss the fourth amended complaint for lack of

standing to sue under Article III of the Constitution and for failure to state a claim on the merits.

The parties dispute, inter alia, whether the Illinois legislature has given defendants the authority

to promulgate the regulations Mathews proposes. Their arguments focus on a statute enacted

after this case was filed, the Illinois Firearm Dealer License Certification Act, 430 Ill. Comp.

Stat. 68/5-1 to 5-120 (Westlaw through Pub. Act No. 103-1082) [hereinafter “the Act” or “Dealer

Certification Act”]; see 2018 Ill. Legis. Serv. P.A. 100-1178 (West Jan. 18, 2019).

        The Illinois legislature included in § 5-85 of the Act a list of eleven criteria for which the

ISP “may” discipline a firearm dealer, including by declining to renew the dealer’s license. The

full list follows:
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        2. A straw sale or straw purchase refers to a transaction in which a person buys a gun for
someone else and falsely claims to be buying it for himself. Abramski v. United States, 573 U.S. 169,
171-72 (2014) (construing 18 U.S.C. § 922(a)(6)).

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      [T]he Illinois State Police may refuse to renew or restore, or may reprimand,
      place on probation, suspend, revoke, or take other disciplinary or non-
      disciplinary action against any licensee, and may impose a fine
      commensurate with the severity of the violation . . . for any of the
      following . . . :

      (1) Violations of this Act, or any law applicable to the sale or transfer of
      firearms.

      (2) A pattern of [sic] practice or other behavior which demonstrates
      incapacity or incompetency to practice under this Act.

      (3) Aiding or assisting another person in violating any provision of this Act
      or rules adopted under this Act.

      (4) Failing, within 60 days, to provide information in response to a written
      request made by the Illinois State Police.

      (5) Conviction of, plea of guilty to, or plea of nolo contendere to any crime
      that disqualifies the person from obtaining a valid Firearm Owner's
      Identification Card.

      (6) Continued practice, although the person has become unfit to practice due
      to any of the following:

         (A) Any circumstance that disqualifies the person from obtaining a valid
         Firearm Owner's Identification Card or concealed carry license.

         (B) Habitual or excessive use or abuse of drugs defined in law as
         controlled substances, alcohol, or any other substance that results in the
         inability to practice with reasonable judgment, skill, or safety.

      (7) Receiving, directly or indirectly, compensation for any firearms sold or
      transferred illegally.

      (8) Discipline by another United States jurisdiction, foreign nation, or
      governmental agency, if at least one of the grounds for the discipline is the
      same or substantially equivalent to those set forth in this Act.

      (9) Violation of any disciplinary order imposed on a licensee by the Illinois
      State Police.

      (10) A finding by the Illinois State Police that the licensee, after having his
      or her certified license placed on probationary status, has violated the terms
      of probation.

      (11) A fraudulent or material misstatement in the completion of an
      affirmative obligation or inquiry by law enforcement.

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430 Ill. Comp. Stat. 68/5-85(a).

        In effect, Mathews asks the court to order defendants to promulgate regulations adding a

twelfth criterion to the above list—making non-renewal of a license mandatory (“must”) instead

of discretionary (“may”) when the new criterion applies. This request runs squarely into a

familiar maxim of statutory construction: expressio unius est exclusio alterius, meaning roughly

that an enumeration of criteria in a statute is interpreted to exclude items not on the list. See,

e.g., Schultz v. Performance Lighting, Inc., 2013 IL 115738, ¶ 17. This maxim “expresses the

learning of common experience that when people say one thing they do not mean something

else.” Id. (quoting People ex rel. Sherman v. Cryns, 786 N.E.2d 139, 155 (Ill. 2003)).

        Applying the expressio unius maxim to § 5-85 of the Dealer Certification Act, the list of

eleven disciplinary criteria is exclusive, and a twelfth criterion may not be added by a court or an

administrative agency like the ISP. See People v. Legoo, 2020 IL 124965, ¶¶ 26-27; People v.

Clark, 2019 IL 122891, ¶¶ 23-24. “Administrative regulations can neither expand nor limit the

statute they enforce.” Kean v. Wal-Mart Stores, Inc., 919 N.E.2d 926, 938 (Ill. 2009) (citing

Outcom, Inc. v. Ill. Dep’t of Transp., 909 N.E.2d 806 (Ill. 2009)); accord. Du-Mont Ventilating

Co. v. Dep't of Revenue, 383 N.E.2d 197, 199-200 (Ill. 1978) (citing Standard Oil Co. v. Dep’t of

Fin., 48 N.E.2d 514 (Ill. 1943)). “Illinois law has long provided that an administrative agency is

a ‘creature of statute’ with ‘no general or common-law powers.’ ” People v. Muhammad, 2023

IL App (1st) 220372, ¶ 46, appeal allowed, 238 N.E.3d 307 (Ill. 2024) (citing Goral v. Dart,

2020 IL 125085, ¶ 33; other citation omitted). An agency like the ISP “is limited to those powers

granted to it by the legislature in its enabling statute.” Id. (quoting Prate Roofing &

Installations, LLC v. Liberty Mut. Ins. Corp., 2022 IL 127140, ¶ 22). Thus, the ISP’s general

rulemaking authority in its organic statute that is, the statute that creates the state police, see

20 Ill. Comp. Stat. 2605/2605-15, may not be used, as Mathews suggests, to engraft a license

non-renewal rule onto the Dealer Certification Act.

        Mathews’ reading of the statute suffers from an additional textual flaw. The ordinary

meaning of the word “may,” which is used thrice in § 5-85(a), denotes non-mandatory discretion.

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E.g., People v. Henry, 924 N.E.2d 1126, 1131 (Ill. App. Ct. 3d Dist. 2010) (citations omitted).

The ISP reads § 5-85’s grant of disciplinary authority as discretionary, for it has promulgated a

non-exhaustive list of factors to be weighed on a case-by-case basis when deciding what, if any,

sanction to impose. See Ill. Admin. Code. Tit. 20, § 1232.50(c) (2025). Mathews suggests no

way in which a regulation could interpret the word “may” to mean “must not renew” in

§ 5-85(a), so if it were promulgated, the regulation Mathews proposes would have to be struck

down as conflicting with the Act’s plain language.

       Lacking a textual footing for her argument in § 5-85, Mathews relies on the grant of

rulemaking authority on another subject in a different section of the Act, § 5-30: “The Illinois

State Police may adopt rules regarding continuing education for certified licensees related to

legal requirements and responsible business practices regarding the sale or transfer of firearms.”

She asserts that this grant of rulemaking power may be used to promulgate a regulation

requiring, as a condition of license renewal, firearm dealers to prove that they have complied

with their training on detecting straw purchasers.

       The Illinois legislature chose to include an express grant of rulemaking authority as to

“continuing education” only. See § 5-30. Construing the Dealer Certification Act as Mathews

proposes would permit the “continuing education” rulemaking power to become a backdoor way

of expanding the ISP’s regulatory authority over recordkeeping and the statutory criteria for

disciplining firearm dealers. As the Illinois Supreme Court has explained, “It is well settled that

when the legislature uses certain language in one instance of a statute and different language in

another part, we assume different meanings were intended.” People v. Clark, 2019 IL 122891,

¶ 23 (quoting People v. Goossens, 2015 IL 118347, ¶ 12). Properly construed then, § 5-30 of the

Dealer Certification Act is a plain grant of rulemaking authority and demonstrates that the

Illinois legislature knew how to grant the ISP rulemaking power when it chose to do so. A

similar grant of rulemaking authority is conspicuously absent from § 5-85. Under the familiar

statutory construction principles discussed in this paragraph, the absence of a grant of



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rulemaking authority from § 5-85 indicates that the legislature withheld rulemaking power in

§ 5-85. Section 5-30 should not be interpreted to override the legislature’s decision.

        Finally, Mathews cites the Illinois Firearm Dealer Responsibility Act of 2023 (FIRA),

P.A. 103-559, § 5, eff. Aug. 14, 2023, which amended the Illinois Consumer Fraud and

Deceptive Business Practices Act, 815 Ill. Comp. Stat. 505/1 et seq. 3 See Resp. to Mot. to

Dismiss 1-2, 12-13. FIRA declares it to be an “unlawful practice within the meaning of this Act

[the Consumer Fraud and Deceptive Business Practices Act] for any firearm industry member” to

“knowingly create, maintain, or contribute to a condition in Illinois that endangers the safety or

health of the public . . . including failing to establish or utilize reasonable controls.” FIRA

defines “reasonable controls” as “business practices that are designed to: prevent the sale or

distribution of a firearm-related product to a straw purchaser.” 815 Ill. Comp.

Stat. 505/2DDDD(b)(1)(A). As Mathews acknowledges, however, FIRA added to the list of

unlawful practices that may give rise to civil liability to a private plaintiff who experiences

“actual damages,” but FIRA does not modify the criteria the ISP should apply when deciding

whether to renew a dealer’s license. 4 815 Ill. Comp. Stat. 505/10A(a); see Resp. to Mot. to
Dismiss 7.

        In sum, the regulation Mathews proposes, via an injunction, would effectively amend the

Dealer Certification Act by adding a rule forbidding license renewal in a specified situation.

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          3. The title “Illinois Firearm Dealer Responsibility Act” appears to be informal. The enacted bill
does not specify a short title. Furthermore, as originally enacted, the Act amended § 2BBBB of the
Consumer Fraud and Deceptive Business Practices Act. See P.A. 103-559, § 5, eff. Aug. 14, 2023. This
amendment was subsequently recodified effective July 1, 2024, with immaterial changes, as 815 Ill.
Comp. Stat. 505/2DDDD. See P.A. 103-605, § 630, eff. July 1, 2024.
          4. Mathews contends that “[i]t would be an abuse of discretion for the State Police to license
dealers that engage in an ‘unlawful practice,’ or to fail to inquire at the time of the license renewal as to
whether the dealers are engaging in such an ‘unlawful practice.’ ” Resp. to Mot. to Dismiss 2. This
argument boils down to the contention that this court should tell defendants how to exercise their
prosecutorial discretion when deciding whether to renew a firearm dealer’s license. As explained in the
opinion dismissing the third amended complaint, United States v. Texas, 599 U.S. 670 (2023), forecloses
this relief, for that case’s holding deprives Mathews of standing to seek an injunction requiring
“defendants to fine, suspend, and discipline gun dealers for violations of extant state law.” Mathews
ex rel. D.W. v. Illinois, 690 F. Supp. 3d 808, 828 (N.D. Ill. 2023).

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Such a rule would exceed the scope of the administrative rulemaking authority granted by the

Dealer Certification Act. See Kean, 919 N.E.2d at 937. Defendants therefore lack the authority

under Illinois law to promulgate the regulation Mathews requests.

       From this construction of the Dealer Certification Act it follows that Mathews lacks

Article III standing to pursue the injunctive relief she seeks. The analysis begins with bedrock

standing principles:

           Article III of the Constitution limits the jurisdiction of the federal courts to
           “cases” or “controversies.” U.S. Const. Art. III, § 2, cl. 1. The doctrine of
           standing enforces this case or controversy requirement. See Spokeo, Inc. v.
           Robins, 578 U.S. 330, 338 (2016); Lujan v. Defs. of Wildlife, 504 U.S. 555,
           55962 (1992). Article III standing doctrine developed to “ensure that
           federal courts do not exceed their authority as it has been traditionally
           understood” and “serves to prevent the judicial process from being used to
           usurp the powers of the political branches.” Spokeo, 578 U.S. at 338
           (quoting Clapper v. Amnesty Int’l USA, 568 U.S 398, 408 (2013); other
           citations omitted) . . . Mathews must establish three elements that together
           comprise “the irreducible constitutional minimum of standing.” Lujan,
           504 U.S. at 560. These elements are: (i) that the plaintiff “suffered an injury
           in fact that is concrete, particularized, and actual or imminent;” (ii) “that the
           injury was likely caused by the defendant;” and (iii) “that the injury would
           likely be redressed by judicial relief.” TransUnion LLC v. Ramirez,
           594 U.S. 413, 423 (2021) (citing Lujan, 504 U.S. at 560–61).
Mathews ex rel. D.W. v. Illinois, 690 F. Supp. 3d 808, 820 (N.D. Ill. 2023) (paragraph break and

some internal citations omitted).

       “[T]o establish injury in fact when seeking prospective injunctive relief, a plaintiff must

allege a ‘real and immediate’ threat of future violations of their rights . . . .” Scherr v. Marriott

Int'l, Inc., 703 F.3d 1069, 1074 (7th Cir. 2013) (quoting City of Los Angeles v. Lyons, 461 U.S.

95, 102-03 (1983)). As she did in her prior complaints, Mathews alleges that “past and

continued exposure [to gun violence] has impaired [D.W.]’s basic life activities and threatens to

make his condition more severe.” Fourth Am. Compl. ¶ 67; see also id. ¶¶ 57–61. The fourth

amended complaint’s allegations mirror those this court held sufficient to allege a concrete and

particularized injury in fact in the third amended complaint. Mathews, 690 F. Supp. 3d at 828.

This court’s reasoning applies with equal force to the fourth amended complaint. See id.

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        “To satisfy the causation element, the plaintiff's injury must be ‘fairly traceable’ to the

challenged action of the defendant, and not the result of the independent action of some third

party before the court.” Id. (quoting Lujan, 504 U.S. at 560). By contrast, the redressability

component of Article III standing requires the plaintiff to show that it “is likely, not merely

speculative, that [her] injury will be redressed by a favorable decision.” In re Recalled Abbott

Infant Formula Prods. Liab. Litig., 97 F.4th 525, 528 (7th Cir. 2024) (citing Friends of the

Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000)).

        Standing is absent where an injunction against the defendants named in the complaint

would not be likely to redress the plaintiff’s concrete and particularized injury. See, e.g., Lujan,

504 U.S. at 568-70. Mathews has not made the required showing. She pleads that children like

her son who live in Chicago’s communities of concentrated gun violence are re-traumatized on a

weekly, and sometimes daily, basis. It is this ongoing exposure to gun violence that the

injunction must appreciably abate. The fourth amended complaint traces this injury to

defendants as follows: (1) crime guns flow into Chicago and are sometimes used in D.W.’s and

class members’ neighborhoods; (2) some crime guns are obtained in straw purchases; (3) a

disproportionate number of the straw purchases occur at seven firearm dealers 5 in Chicago’s

suburbs; and (4) defendants fail to regulate those seven dealers in a manner that would decrease

the rate of straw purchases. See Fourth Am. Compl. ¶¶ 68-97. Because, as explained above,

defendants have no authority to promulgate the regulations Mathews proposes, D.W.’s injuries

and those of the putative class cannot be redressed by the injunction Mathews seeks. Only the

Illinois legislature can give defendants the authority to promulgate Mathews’ proposed

regulations.

        For all of the foregoing reasons, defendants’ motion to dismiss the fourth amended

complaint for want of Article III standing is granted. Mathews has repeatedly failed to cure

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   5. At oral argument, defendants’ attorney told the court that that, according to press reports, one
of the seven allegedly problematic gun dealers listed in the fourth amended complaint, Chuck’s Gun Shop
in Riverdale, recently closed. See Tr. of Oral Arg. 19-20, ECF No. 211.

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standing defects in her complaints. Accordingly, judgment will be entered dismissing this case

without prejudice for want of subject matter jurisdiction.


Date: June 13, 2025                                  /s/ Joan B. Gottschall
                                                     United States District Judge




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